                Case 18-11145-LSS              Doc 614       Filed 11/27/18         Page 1 of 3




                                    UNITED STATES BANKRUPTCY COURT
                                              FOR THE
                                       DISTRICT OF DELAWARE




                                                               )
In re:                                                         )        Chapter 11
                                                               )        CaseNo.: 18-11145-LSS
THE RELAY SHOE COMPANY, LLC, et al.,                           )
                                                               )
                                                               )         Hearing Date: Nov. 28, 2018, 10:00 a.m.
                              Debtors.
                                                               )

CERTIFICATION OF NO OBJECTION TO MOTION TO WITHDRAW CLAIM #102 FILED
               BY UNITED STATES DEPARTMENT OF LABOR

         The undersigned hereby certifies that he has received no objection to the motion of the

Secretary of the United States Department of Labor (hereinafter “the Secretary”) filed on

November 19, 2018 seeking to withdraw proof of claim # 102.

         On or about August 13, 2018, the Secretary filed a Proof of Claim (Claim #102) in the

amount of Two Hundred Forty-seven thousand Four hundred eighty-six dollars ($247,486). In

the attachment to the Proof of Claim, the Secretary notified the Court that he had initiated an

investigation of The Rockport Co., LLC 40 1(k) Savings and Retirement Plan (hereinafter “the

Plan”), an employee pension benefit plan covered by the Employee Retirement Income Security


           The debtors and debtors in possession in these cases and the last four digits of their respective
Employer Identification Numbers are: Relay Blocker, LLC (f/k/a Rockport Blocker, LLC) (5097), The
Relay Group Holdings, LLC (f/k/a The Rockport Group Holdings, LLC) (3025), Relay I-P Holdings, LLC
(f/k/a TRG I-P Holdings, LLC) (4756), Relay Intermediate Holdings, LLC (f/k/a TRG Intermediate
Holdings, LLC) (8931), Relay Class D, LLC (f/k/a TRG Class D, LLC) (4757), The Relay Group, LLC
(f/k/a The Rockport Group, LLC) (5559), The Relay Company, LLC (f/k/a The Rockport Company, LLC)
(5456), Drydock Footwear, LLC (7708), DD Management Services LLC (8274), and Relay Opco Canada
ULC (f/k/a Rockport Canada ULC) (3548). The debtors’ mailing address is 1220 Washington Street, West
Newton, Massachusetts 02465.
              Case 18-11145-LSS        Doc 614     Filed 11/27/18     Page 2 of 3




Act of 1974, 29 U.S.C. Section 1001 et, seq. (hereinafter “ERISA”). The Secretary’s Proof of

Claim was filed because submissions filed with the Secretary by the Plan indicated that $247,486

in Plan participant contributions had not been forwarded to the Plan in violation of ERISA.

Subsequent submissions provided to the Secretary pursuant to his requests have shown that said

amount was later contributed to the Plan.


                                            Respectfully submitted,
Post Office Address:
U.S. Department of Labor                    Kate O’Scannlain
Office of the Solicitor                     Solicitor of Labor
JFK Federal Building
Room E-375                                  Maia S. Fisher
Boston, MA 02203                            Regional Solicitor
TEL: (617)565-2500
FAX: (617)565-2142
                                             /s/ Donald E. d ‘Entremont
                                             Senior Trial Attorney

                                             Attorneys for the
                                             U.S. Department of Labor

                                             November 27, 2018
             Case 18-11145-LSS        Doc 614     Filed 11/27/18    Page 3 of 3




                              CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing CERTIFICATION OF NO OBJECTION TO

MOTION TO WITHDRAW CLAIM #102 FILED BY UNITED STATES DEPARTMENT OF

               th
               27
LABOR on the        day of November, 2018, by placing one (1) copy of same in a postage-paid

envelope addressed to:



                         RICHARDS, LAYTON & FINGER, P.A.
                         One Rodney Square
                         920 North King Street
                         Wilmington, Delaware 19801
                         Attn: Mark D. Collins
                                Michael J. Merchant
                                Amanda R. Steele
                         Facsimile: 302-651-7701

the last known address and depositing same in the United States Mail at Boston, Massachusetts.



                                                           is! William J. Mahoney, Jr.
